Case: 1:16-cv-08794 Document #: 258 Filed: 04/18/18 Page 1 of 1 PageID #:6364

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

GC2 Incorporated
                                              Plaintiff,
v.                                                         Case No.: 1:16−cv−08794
                                                           Honorable Matthew F. Kennelly
International Game Technology PLC, et al.
                                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, April 18, 2018:


        MINUTE entry before the Honorable Matthew F. Kennelly: Telephone status
hearing held on 4/18/2018 with attorneys for both sides. Liability discovery has been
completed. Deadline for defendants' Rule 26(a)(2) disclosures is extended to 5/2/2018;
plaintiff's damages rebuttal deadline is extended to 5/16/2018. Telephone status hearing,
to be initiated by the parties, is set for 6/4/2018 at 8:45 a.m. The deadline for filing
dispositive motions is 8/3/2018. The case is set for jury trial on 12/10/2018 at 9:45 a.m.
Mailed notice. (pjg, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
